Dear Secretary Carnahan:
This opinion letter responds to your request dated October 27, 2011, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Christopher N. Grant regarding a proposed amendment to Chapter 290, Revised Statutes of Missouri (version 1). The proposed summary statement is as follows:
Shall Missouri law be amended to:
  • increase the state minimum wage to $8.25 per hour, or to the federal minimum wage if that is higher, and adjust the state wage annually based on changes in the Consumer Price Index;
  • increase the minimum wage for employees who receive tips to 60% of the state minimum wage; and
  • modify certain other provisions of the minimum wage law including the retail or service *Page 2 
businesses exemption and penalties for paying employees less than the minimum wage?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  _________________________ CHRIS KOSTER Attorney General *Page 1 